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 1   DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
 2   Dennis S. Waks, Bar #142581
     Supervising Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700
 5   Attorney for Defendant
     JAIME VAN TONGEREN
 6
                        IN THE UNITED STATES DISTRICT COURT
 7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,    )
                                  )      Cr.S. 08-190-GEB
10                  Plaintiff,    )
                                  )      STIPULATION AND ORDER
11             v.                 )
                                  )
12   JAIME VAN TONGEREN, et al., )       DATE: November 21, 2008
                                  )      TIME: 9:00 a.m.
13                  Defendant.    )      JUDGE: Hon. Garland E. Burrell
                                  )
14   ____________________________ )
15
16        It is hereby stipulated and agreed to between the United States of
17   America through MARY L. GRAD, Assistant U.S. Attorney, defendant, JAIME
18   VAN TONGEREN, by and though his counsel, DENNIS S. WAKS, Supervising
19   Assistant Federal Defender, and TONY HAMMETT by and through his
20   counsel, MARK J. REICHEL that the status conference set for Friday,
21   October 10, 2008 be continued to Friday, November 21, 2008 at 9:00 a.m.
22   This continuance is being requested because defense counsel needs
23   additional time to prepare, to review discovery, and to interview
24   witnesses.   Counsel has received 160 pages of discovery and needs
25   additional time to review and discuss them with our clients.
26        Speedy trial time is to be excluded from the date of this order
27   through the date of the status conference set for November 21, 2008,
28   pursuant to 18 U.S.C. §§ 3161 (h)(8)(B)(iv) [reasonable time to
              Case 2:08-cr-00190-GEB Document 34 Filed 10/09/08 Page 2 of 2


 1   prepare] (Local Code T4).
 2                                       Respectfully submitted,
                                         DANIEL J. BRODERICK
 3                                       Federal Defender
 4   DATED: October 8, 2008              /S/ Dennis S. Waks
 5                                       DENNIS S. WAKS
                                         Supervising Assistant Federal Defender
 6                                       Attorney for Defendant
                                         JAMIE VAN TONGEREN
 7
 8
                                         /s/ Dennis S. Waks for
 9   DATED: October 8, 2008
                                         MARK J. REICHEL
10                                       Attorney for TONY HAMMETT
11
12                                       McGREGOR W. SCOTT
                                         United States Attorney
13
14   DATED: October 8, 2008              /s/ Dennis S. Waks for
15                                       MARY L. GRAD
                                         Assistant U.S. Attorney
16
17                                        O R D E R
18
                 IT IS SO ORDERED.
19   Dated:    October 8, 2008
20
21                                       GARLAND E. BURRELL, JR.
22                                       United States District Judge

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